[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                                CORRECTED MEMORANDUM OF DECISION de DEFENDANT'S POST JUDGMENT MOTION FOR MODIFICATION OF SUPPORT (273.10)
The parties' marriage was dissolved on July 29, 1997 by judgment that ordered the defendant father to pay $1,387.50 per month per child to the plaintiff mother as a part of a separation agreement approved by the court. The defendant's financial affidavit filed at that time listed gross weekly wage as $2885 and an additional $576 bonus totaling $3461 weekly gross and net after taxes of $1907 and $346 respectively, a total weekly net of $2253. The plaintiffs affidavit listed monthly gross of $6000 and net after taxes and medical insurance premium of $3374 or $779 weekly. Their combined net exceeded the maximum guidelines then in effect.
The defendant became unemployed as of April 1, 2002. He is now collecting unemployment insurance of $450 weekly. He has been seeking employment without success. There is no basis to apply an earning capacity test in this case based on the evidence. A substantial change in the defendant's income has occurred. The child support order is subject to modification. The plaintiffs current financial affidavit lists weekly gross wage of $1925 and, after excluding the 401k deduction of 211.53, net of $1,556.07. Their combined net totals $2006.07 with the plaintiff enjoying 77.56% and leaving 22.44% allocated to the defendant. He did receive a bonus when laid off but same has been greatly reduced. The court finds that the support guidelines apply. For two children the total obligation is $484 with the defendant's share being $108.61.
The child support order is reduced to $108.61 weekly. Retroactivity is not ordered because of the substantial bonus referred to above. This order is effective immediately.
The defendant's motion is granted and so ordered, the original decision being replaced by this corrected decision, nunc pro tunc, effective CT Page 13865 October 24, 2002.
  ___________________ HARRIGAN, J.T.R.
CT Page 13866